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                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF NEBRASKA

                                                )
 In re:                                         )   Chapter 11
                                                )
 SPECIALTY RETAIL SHOPS HOLDING CORP.           )   Case No. 19-80064-TLS
                                                )
                     Debtor.                    )
                                                )
 Tax I.D. No. XX-XXXXXXX                        )
                                                )
 In re:                                         )   Chapter 11
                                                )
 PAMIDA STORES OPERATING CO., LLC,              )   Case No. 19-80065-TLS
                                                )
                     Debtor.                    )
                                                )
 Tax I.D. No. XX-XXXXXXX                        )
                                                )
 In re:                                         )   Chapter 11
                                                )
 PAMIDA TRANSPORTATION, LLC,                    )   Case No. 19-80063-TLS
                                                )
                     Debtor.                    )
                                                )
 Tax I.D. No. XX-XXXXXXX                        )
                                                )
 In re:                                         )   Chapter 11
                                                )
 PENN-DANIELS, LLC,                             )   CASE NO. 19-80066-TLS
                                                )
                     Debtor.                    )
                                                )
 Tax I.D. No. XX-XXXXXXX                        )
                                                )
 In re:                                         )   Chapter 11
                                                )
 PLACE’S ASSOCIATES’ EXPANSION, LLC,            )   Case No. 19-80067-TLS
                                                )
                     Debtor.                    )
                                                )
 Tax I.D. No. XX-XXXXXXX                        )
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                                                )
 In re:                                         )   Chapter 11
                                                )
 RETAINED R/E SPE, LLC,                         )   Case No. 19-80068-TLS
                                                )
                     Debtor.                    )
                                                )
 Tax I.D. No. XX-XXXXXXX                        )
                                                )
 In re:                                         )   Chapter 11
                                                )
 SHOPKO FINANCE, LLC,                           )   Case No. 19-80069-TLS
                                                )
                     Debtor.                    )
                                                )
 Tax I.D. No. XX-XXXXXXX                        )
                                                )
 In re:                                         )   Chapter 11
                                                )
 SHOPKO GIFT CARD CO., LLC,                     )   Case No. 19-80070-TLS
                                                )
                     Debtor.                    )
                                                )
 Tax I.D. No. XX-XXXXXXX                        )
                                                )
 In re:                                         )   Chapter 11
                                                )
 SHOPKO HOLDING COMPANY, LLC,                   )   Case No. 19-80071-TLS
                                                )
                     Debtor.                    )
                                                )
 Tax I.D. No. XX-XXXXXXX                        )
                                                )
 In re:                                         )   Chapter 11
                                                )
 SHOPKO INSTITUTIONAL CARE SERVICES             )   Case No. 19-80072-TLS
 CO., LLC,                                      )
                                                )
                     Debtor.                    )
                                                )
 Tax I.D. No. XX-XXXXXXX                        )




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                                                                      )
    In re:                                                            )    Chapter 11
                                                                      )
    SHOPKO OPTICAL MANUFACTURING, LLC,                                )    Case No. 19-80073-TLS
                                                                      )
                               Debtor.                                )
                                                                      )
    Tax I.D. No. XX-XXXXXXX                                           )
                                                                      )
    In re:                                                            )    Chapter 11
                                                                      )
    SHOPKO PROPERTIES, LLC,                                           )    Case No. 19-80074-TLS
                                                                      )
                               Debtor.                                )
                                                                      )
    Tax I.D. No. XX-XXXXXXX                                           )
                                                                      )
    In re:                                                            )    Chapter 11
                                                                      )
    SHOPKO STORES OPERATING CO., LLC                                  )    Case No. 19-80075-TLS
                                                                      )
                               Debtor.                                )
                                                                      )
    Tax I.D. No. XX-XXXXXXX                                           )
                                                                      )
    In re:                                                            )    Chapter 11
                                                                      )
    SVS TRUCKING, LLC,                                                )    Case No. 19-80076-TLS
                                                                      )
                               Debtor.                                )
                                                                      )
    Tax I.D. No. XX-XXXXXXX                                           )

                     ORDER (I) DIRECTING JOINT ADMINISTRATION OF
                   CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”), (a) directing the

joint administration of the Debtors’ chapter 11 cases for procedural purposes only; and

(b) granting related relief, all as more fully set forth in the Motion; and upon the First Day



1
             Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.

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Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334 and the Nebraska General Rule 1.5 of the United States District Court for the District of

Nebraska; and that this Court may enter a final order consistent with Article III of the United

States Constitution; and this Court having found that venue of this proceeding and the Motion in

this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

the relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors,

and other parties in interest; and this Court having found that the Debtors’ notice of the Motion

and opportunity for a hearing on the Motion were appropriate under the circumstances and no

other notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at a hearing before this Court

(the ”Hearing”); and this Court having determined that the legal and factual bases set forth in the

Motion and at the Hearing establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

        1.      The Motion is granted as set forth in this Order.

        2.      The above-captioned chapter 11 cases are consolidated for procedural purposes

only and shall be jointly administered by the Court under Case No. 19-80064-TLS.

        3.      The caption of the jointly administered cases should read as follows:




                                                   4
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEBRASKA

                                                                     )
In re:                                                               ) Chapter 11
                                                                     )
SPECIALTY RETAIL SHOPS HOLDING CORP., et                             ) Case No. 19-80064-TLS
al.,2
                                                                     )
                         Debtors.                                    ) (Jointly Administered)
                                                                     )

         4.      The foregoing caption satisfies the requirements set forth in section 342(c)(1) of

the Bankruptcy Code.

         5.      A docket entry, substantially similar to the following, shall be entered on the docket

of each of the Debtors other than Specialty Retail Shops Holding Corp. to reflect the joint

administration of these chapter 11 cases:

                 An order has been entered in accordance with Rule 1015(b) of the
                 Federal Rules of Bankruptcy Procedure and Rule 1015-1 of the
                 Local Bankruptcy Rules for the United States Bankruptcy Court for
                 the District of Nebraska directing joint administration for procedural
                 purposes only of the chapter 11 cases of: Specialty Retail Shops
                 Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157);
                 Pamida Transportation LLC (4219); Penn-Daniels, LLC (0040);
                 Place’s Associates’ Expansion, LLC (7526); Retained R/E SPE,
                 LLC (6679); Shopko Finance, LLC (1152); ShopKo Gift Card Co.,
                 LLC (2161); ShopKo Holding Company, LLC (0171); ShopKo
                 Institutional Care Services Co., LLC (7112); ShopKo Optical
                 Manufacturing, LLC (6346); ShopKo Properties, LLC (0865);
                 ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC
                 (0592). The docket in Case No. 19-80064-TLS should be consulted
                 for all matters affecting this case.



2
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157);
Pamida Transportation LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526);
Retained R/E SPE, LLC (6679); Shopko Finance, LLC (1152); ShopKo Gift Card Co., LLC (2161); ShopKo
Holding Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical
Manufacturing, LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS
Trucking, LLC (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin,
54304.
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       6.      The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the District of Nebraska shall keep, one consolidated docket, one file, and one consolidated

service list for these chapter 11 cases.

       7.      The Debtors are authorized to file the monthly operating reports required by the

Operating Guidelines and Reporting Requirements of the United States Trustee for Chapter 11

Debtors in Possession and Chapter 11 Trustees, issued by the Office of the United States Trustee

for the District of Nebraska, on a consolidated basis, but the Debtors shall track and break out

disbursements on a debtor-by-debtor basis in each monthly operating report.

       8.      Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases and this Order

shall be without prejudice to the rights of the Debtors to seek entry of an Order substantively

consolidating their respective cases.

       9.      Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       10.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

       11.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       12.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this.

 Omaha, Nebraska
 Dated: January 16, 2019                             /s/Thomas L. Saladino
                                                     UNITED STATES BANKRUPTCY JUDGE



                                                 6
